Case 1:12-cv-00098-RGJ-HBB Document 24 Filed 08/31/12 Page 1 of 3 PageID #: 263




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                             BOWLING GREEN DIVISION

 SAAP ENERGY, INC. and                     )
 SAIBABU APPALANENI,                       )
                                           )
        Plaintiffs,                        )
                                           )
 v.                                        )     Case No.: 1:12:cv-00098-TBR
                                           )
 RICKY BELL, individually,                 )
 MAX BELL, individually,                   )     AGREED ORDER OF
 REBELL OIL OF KY, LLC,                    )     DISMISSAL WITH PREJUDICE
 ENERGY ENDEAVORS, LLC,                    )     AS TO PATRICK GAGLIARDI,
 MARTIN KLEINMAN, individually,            )     ROBERTA CAPUTO, AND
 FALCON ENERGY GROUP, LLC                  )     EMPIRE BUSINESS
 PATRICK GAGLIARDI, individually, and as )       ASSOCIATES, INC.
 agent for Capital Business Solutions,     )
 ROBERTA CAPUTO, individually, and as      )
 agent for Capital Business Solutions,     )
 EMPIRE BUSINESS ASSOCIATES, INC., and )
 DANNY BASIL, individually,                )
                                           )
        Defendants.                        )
 ______________________________________________________________________________

        As evidenced by the signatures of counsel below, Plaintiffs SAAP Energy, Inc. and

 Saibabu Appalaneni (“Plaintiffs”) hereby dismisses, with prejudice, any and all claims asserted

 in this action only against Defendants Patrick Gagliardi, individually, and as agent for Capital

 Business Solutions, Roberta Caputo, individually, and as agent for Capital Business Solutions,

 and Empire Business Associates, Inc. (collectively referred to herein as “CBS Defendants”), and

 not releasing or discharging any other person or Defendant. The parties further agree that the

 Plaintiffs and CBS Defendants shall bear their own costs, including attorney’s fees. Further, in

 no event shall the CBS Defendants be responsible for any court costs, taxable expenses, or

 nontaxable expenses in this matter.
Case 1:12-cv-00098-RGJ-HBB Document 24 Filed 08/31/12 Page 2 of 3 PageID #: 264




        IT IS THEREFORE ORDERED, that only the Plaintiffs, SAAP Energy, Inc. and

 Saibabu Appalaneni’s claims against Defendants Patrick Gagliardi, individually, and as agent for

 Capital Business Solutions, Roberta Caputo, individually, and as agent for Capital Business

 Solutions, and Empire Business Associates, Inc. are hereby DISMISSED, WITH

 PREJUDICE. No other claim against any of the other Defendants, or other yet undiscovered

 co-conspirator, or individual, is dismissed. It is further ORDERED that each party shall bear

 their own costs, including attorney’s fees, and that in no event shall Defendants Patrick

 Gagliardi, individually, and as agent for Capital Business Solutions, Roberta Caputo,

 individually, and as agent for Capital Business Solutions, and Empire Business Associates, Inc.

 be responsible for any court costs, taxable expenses, or nontaxable expenses in this matter.




                                                                       August 30, 2012




                                                 2
Case 1:12-cv-00098-RGJ-HBB Document 24 Filed 08/31/12 Page 3 of 3 PageID #: 265




 Approved for Entry:



 /s/ Daniel N. Thomas
 Daniel N. Thomas, Esq.
 James G. Adams III, Esq.
 THOMAS, ARVIN & ADAMS
 1209 S. Virginia Street
 P.O. Box 675
 Hopkinsville, Kentucky 42241-0675
 Telephone: (270) 886-6363
 Facsimile: (270) 886-8544
 dthomas@thomasandarvin.com
 jadams@thomasandarvin.com

 Attorneys for Plaintiffs


 /s/ Michael D. Hornback______________
 Michael D. Hornback, Esq.
 WYATT, TARRANT & COMBS, LLP
 2525 West End Avenue, Suite 1500
 Nashville, Tennessee 37203
 Telephone: (615) 244-0020
 Facsimile: (615) 256-1726
 mhornback@wyattfirm.com

 and

 C. Tyson Gorman, Esq.
 WYATT, TARRANT & COMBS, LLP
 500 West Jefferson Street, Suite 2800
 Louisville, Kentucky 40202
 Telephone: (502) 562-7332
 Facsimile: (502) 589-0309
 tgorman@wyattfirm.com

 Attorneys for Defendants Patrick Gagliardi,
 individually, and as agent for Capital Business
 Solutions, Roberta Caputo, individually, and
 as agent for Capital Business Solutions, and
 Empire Business Associates, Inc.




                                                   3
